                    Case 1:15-cr-00616-KBF
AO 98 (Rev. 12/11) Appearance Bond                        Document 27 Filed 06/15/15 Page 1 of 7

                                     UNITED STATES DISTRICT COURT
    ORIGINAL                                                        for the
                                                      Southern District of New York
                  United States of America                              )
                                v.                                      )
                                                                        )        Case No.
                     YONG JASON LEE                                     )
                            Defendant                                   )

                                                           APPEARANCE BOND

                                                           Defendant's Agreement
I,    YONG JASON LEE                                                  (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
              ( X )         to appear for court proceedings;
              ( X )         if convicted, to surrender to serve a sentence that the court may impose; or
              ( X )         to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                                 Type of Bond
( X ) ( 1) This is a personal recognizance bond.

(    ) (2) This is an unsecured bond of$

( X ) (3) This is a secured bond of$            150,000.00                            , secured by:
                                               -~---------~




        (     ) (a) $ _ _ _ _ _ _ _ _ _ , in cash deposited with the court.

        ( X ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                 (describe the cash or other property, including claims on it - such as a lien, mortgage, or loan - and attach proof of
                 ownership and value):
                 SECURED BY PROPERTY WITH EQUITY OF $50,000.00

                 If this bond is secured by real property, documents to protect the secured interest may be filed of record.

        (     ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):




                                                     Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited ifthe defendant does not comply with the above agreement. The
court may immediately order the amount of the bond surrendered to the United States, including the security for the bond, if the
defendant does not comply with the agreement. At the request of the United States, the court may order a judgment of forfeiture
against the defendant and each surety for the entire amount of the bond, including interest and costs.

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the security will
be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to serve a sentence.
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AO 98 (Rev. 12/11) Appearance Bond



                                                               Declarations

Ownership of the Property. I, the defendant - and each surety - declare under penalty of perjury that:

         (1)      all owners of the property securing this appearance bond are included on the bond;
         (2)      the property is not subject to claims, except as described above; and
         (3)      I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
         while this appearance bond is in effect.

Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all the conditions of release set
by the court or had them explained to me. I agree to this Appearance Bond.




I, the defendant- and each surety- declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)




Date:       6/15/2015
                                                                                   Defendant's signature: YONG JASON LEE




                                                                                     Surety/property owner - signature and date




              Surety/property owner - printed name:                                  Surety/property owner - signature and date




               Surety/property owner - printed name                                  Surety/property owner - signature and date




                                                                       CLERK OF COURT



Date:   611512015
                                                                           "             Signature of Clerk or Deputy Clerk


Approved.

Date:   6/15/15
                                                                                       AU&4: CHRISTIAN EVERDELL """"'
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AO 199A(Rev.12/11) OrderSettingConditionsofRelease                                                                    Page I of _ _ _ Pages



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                        Southern District of New York



                    United States of America                            )
                                v.                                      )
                                                                        )             Case No.           lSMAG.1771
                      YONG JASON LEE                                    )
                            Defendant                                   )

                                      ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection ofa DNA sample ifit is authorized by 42 U.S.C. § 14135a.

(3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making any change of
      residence or telephone number.

(4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that the court may
      impose.

      The defendant must appear at:
                                                                                                 Place



      on
                                                                       Date and Time

      If blank, defendant will be notified ofnext appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
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AO 199B (Rev. 12111) Additional Conditions of Release                                                                                          Page      of      Pages
                                                            ADDITIONAL CONDITIONS OF RELEASE

         IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

     )    (6)     The defendant is placed in the custody of:
                  Person or organization
                  Address (only if above is an organization)
              City and state                                                                                       Tel. No. - - - - - - - . . , . - - - - , - - - - - -
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court immediately if
the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                                Signed:-------=-----..,.--------
                                                                                              Custodian                                                       Date
( X)      (7)     The defendant must:
                                                                                         PSA FOR PRETRIAL SUPERVISION AS
         ( X ) (a) submit to supervision by and report for supervision to the           _D_IRE_~C~T~E~~DB_Y_P_T_S_._ _ _ _ _ _ _ _ _ _ __
                   telephone number                           , no later than
             ) (b) continue or actively seek employment.
         (   ) (c) continue or start an education program.
         ( X ) (d) surrender any passport to:        _,,P'""S'°"A"------------------------------------~
         ( X ) (e) not obtain a passport or other international travel document.
         ( X ) (f) abide by the following restrictions on personal association, residence, or travel:      TRAVEL RESTRICTED TO SDNY/EDNY/ CD OF
                   CALIFORNIA AND POINTS IN BETWEEN TO TRAVEL TO COURT DATES.
             ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                   including:

                ) (h) get medical or psychiatric treatment:

                ) (i) return to custody each                      at _ _ _ o'clock after being released at         ----~           o'clock for employment, schooling,
                      or the following purposes:

                ) G)    maintain residence at a half\vay house or community corrections center, as the pretrial services office or supervising officer considers
                        necessary.
         ( X ) (k)      not possess a firearm, destructive device, or other weapon.
         (   ) (I)      not use alcohol (          ) at all (     ) excessively.
         (   ) (m)      not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
                        medical practitioner.
                ) (n)   submit to testing for a prohibited substance ifrequired by the pretrial services office or supervising officer. Testing may be used with random
                        frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance
                        screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited substance
                        screening or testing.
                  (o)   participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or supervising
                        officer.
                ) (p)   participate in one of the following location restriction programs and comply with its requirements as directed.
                        (     ) (i) Curfew. You are restricted to your residence every day (              ) from                     to                , or (       ) as
                                      directed by the pretrial services office or supervising officer; or
                              ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
                                      substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities approved
                                      in advance by the pretrial services office or supervising officer; or
                              ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and court
                                      appearances or other activities specifically approved by the court.
                ) (q)   submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                        requirements and instructions provided.
                        (     ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                                supervising officer.
                ) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                      arrests, questioning, or traffic stops.
                   $150,000 PRB. CO-SIGNED BY ONE FINANCIALLY RESPONSIBLE PERSON. SECURED BY CASH/PROPERTY
                   WITH EQUITY OF $50,000. TRAVEL RESTRICTED TO SDNY/EDNY/CD OF CALIFORNIA AND POINTS IN
                   BETWEEN TO TRAVEL TO COURT DATES. SURRENDER TRAVEL DOCUMENTS (&NO NEW
                   APPLICATIONS). PRETRIAL SUPERVISION AS DIRECTED BY PTS. OTHER CONDITIONS: NO FIREARMS.
         ( X ) (s) DEFf TO BE RELEASED ON OWN SIGNATURE; REMAINING CONDITIONS TO BE MET BY 6/27/15.
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                ADDITIONAL CONDITIONS OF RELEASE
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AO 199C (Rev. 09/08) Advice of Penalties                                                                           Page          of         Pages
                                               ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:                           YONG JASON LEE                   15MAG.1771                  JUNE 15, 2015

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

         Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
         While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be consecutive
(i.e., in addition to) to any other sentence you receive.
         It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to
intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly
more serious if they involve a killing or attempted killing.
         If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
         ( 1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
               not more than $250,000 or imprisoned for not more than 10 years, or both;
         (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years-you will be fined not
               more than $250,000 or imprisoned for not more than five years, or both;
         (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
         (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
         A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                      Acknowledgment of the Defendant

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of release,
to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

DEFENDANT RELEASED



                                                                                Defendants Signature:   YONG JASON LEE


                                                                                                 City and State



                                                   Directions to the United States Marshal

(    ) The defendant is ORDERED released after processing.
(    ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant has posted
       bond and/or complied with all other conditions for release. Ifstill in custody, the defendant must be produced before the appropriate judge
       at the time and place specified.



                                                                                          Judicial Officer's Signature



                                                                                             Printed name and title




                       DISTRIBUTION:       COURT   DEFENDANT        PRETRIAL SERVICE       U.S. ATTORNEY          U.S. MARSHAL
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